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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, )
) No, 04 CR 778-5

v. )

WILLIAM KURCZODYNA, ) Judge Samuel Der-Yeghiayan
)
Defendant, )
)

AGREED ORDER
Upon motion of the United States, it is ordered that the Federal Bureau of Investigation
(“FBI”) deliver the $71,440 it seized from the defendant and/or his spouse in November 2004 and
May 2005 to the Clerk of the Court for the Northern District of HWlinois to be appliedto the

defendant’s outstanding restitution obhgation.

Entered:

Dated: O-2S5-0| aoe Ee.

United States District Judge
